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IN THE UNITED STATES SOUTHERN
DISTRICT COURT OF TEXAS southern itt ke
JUL 10 2618
CASE NO. David J, Bradley, Clerk of Court
RICHARD.AND BETTY STALONS,
DARREN DELEON
PLAINTIFF(S)
Vv.
FIRST CLASS VACATIONS, INC., / CRUISE FIREFLY, ET AL.,

COMPLAINT FC
AND O

TELEPHONI

DE}

6419 Saffron Hills Drive
Spring, Texas 77379
(281)251-6675

DOES 1 THRU 5
DEFENDANT(S)

DR INJUNCTIVE RELIEF, DAMAGES,
THER STATUTORY RELIEF

PURSUANT TO

3, CONSUMER PROTECTION ACT
(47 U.S.C. 227 Et. Seq.),

AND

MAND FOR JURY TRIAL

 
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COMPLAINT
RICHARD and BETTY STALONS and DARREN DELEON, known as ‘Plaintiff

thereafter, hereby sues FIRST CLASS VACATIONS, INC., / CRUISE FIREFLY,
ET AL., known as ‘Defen t? thereafter for sixteen (16) violations of the
Telephone Consumer Protection Act (T.C.P.A.), 47 U.S.C. §227 et seq. (““TCPA”)

and regulations promulgated at 47 CFR §§§64.1200-1202. Plaintiffs) alleges the

 

following redress by this complaint is based on upon personal knowledge, verified

records and by a sworn affidavit as to all matters mentioned herein.

JURISDICTION AND VENUE
1. Jurisdiction of this Court arises under 28 U.S.C. 1331.
2. Venue is proper pursuant jto 28 U.S.C. 1391(b) in this District that Plaintiff is
domiciled and the Defendant(s) transacted business here but is not registered in
Texas which the alleged unlawful conduct complained of, had occurred.

6. This federal civil action is for statutory damages, exceeding $8,000.00.

PARTIES

7. Plaintiff(s) are domiciled in Spring, Texas.

8. Defendant, “First Class Vacations, Inc. (05/24/04) / Cruise Firefly, et al, (same
company) registered in Florida, CLIA #ST-36432, as a Seller of Travel, located
at 1515 S. Federal Hwy #801, Boca Raton, FL 33432 but not in Texas verified

(6/30/16) by William Pate|(WPate@sos.texas.gov) with (NA) BBB rating: D+.
2

 
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9. Defendants’ registered age
is located at the same addre
10. Does 1 thru 5 are indiv
Plaintiff. One or more of 1

identities are disclosed thre

11. Did Defendant’s agents

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nt is listed as Jeffrey Nahom, president and secretary,
>SS, supra.

riduals whose identities are currently unknown to
hese individuals may be joined as parties once their

ugh discovery.

KEDERAL QUESTION

violate Federal law under specific sections of 47

U.S.C. 227, known as the “Telephone Consumer Protection Act” ?

1- BACKGROUND

12, Plaintiff files this action

to enforce the consumer privacy provisions of the

Telephone Consumer Protection Act as Defendant is alleged to have violated.

13. Since February 17, 2012)

Plaintiff's home phone number has been registered

on the National “Do Not Call” database as verified by F.T.C.’s registry.

14.From July 10, 2014 throu

gh August 13, 2015 on separate occasions, Plaintiff

received sixteen (16) unauthorized telemarketing calls to their home landline

telephone as verified Comcast records by Defendant agents to solicit a

discounted cruise. Charvat v. NMP, L.L.C., 656 F.3d 440, 452-453 6" Cir.

2011). This proffered ‘free cruise’ offer is not technically ‘free’ since other

costs are involved. E.g. ‘bait and switch’. See: https://www.ripoffreport.com.

3

 
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15.Plaintiff is within the fedet
which began on July 10,

1658(a). Giovanniello v. Ai

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al four year statute of limitations for each call claim

2014. TCPA claims are governed under 28 U.S.C.

LM Media, L.L.C., 726 F.3d 106 (2" Cir. 2013).

16. At all times, each telemarketing call incorporated an initial, long pause (5-20

seconds) before an agent began speaking or before a recorded message would

play. This pattern is custon
17.Plaintiff (Darren) asked e

stated, “I represent Cruise

nary with autodialers and prerecorded message calls.

ach agent (4), “who do you represent?” Each agent

Firefly”. The telemarketers are identified as Tiwana,

Linsey, Dianna and Dianna. See sworn affidavit. Exhibit “1”.

18. Plaintiffs’ also enters certi

legal dept. as competent,
Fed. R. Evid. Rule 902 - &
19.As defined in 47 U.S.C. 22

1) No prior written conse!

ified copies of their telephone records by Comcast’s

substantive evidence to validate a ‘proof of claim’.

vidence that is self-authenticating. Exhibit “2”.
7, Plaintiff declares these telemarketing calls lacked:

nt by any household member, (b)(1)(B); 2) No prior

business relationship expressing a commercial purpose, (a)(2); 3) Not made for

emergency purposes, (b)(1

Defendant must prove on 1
of genuine issues of materi
20.Defendants’ acts were a

caring (24 hrs) for Betty’s

 

L

)(A); 4) Not made by an exempt organization, (2)(F).

the record and to the contrary, supra, of the existence

al facts.
nuisance and invasion of privacy especially while

mother (94 yrs old) suffering from stage-4 dementia.

4
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GE

RAL ALLEGATIONS

21.Plaintiffs file this action, ‘pro se, since they are not trained in law and are to be

held to less stringent stand

ards than formal pleadings drafted by lawyers. Miller

v. Stanmore, 636 F.2d 986, 988 (5™ Cir. 1981) and to be given reasonable

opportunity to amend any defects. Platsky v. CIA,953 F.2d 26 (2™ Cir. 1991).

22.Since February 17, 2012,

on the National “Do Not

protect and prohibit uncon

23.In the most recent TCPA ri

are harassment’. Armata v.

24.Where a moving party has

party “must do more than :

to the material facts.” If D
of material facts then mov
Matsushita Elec. Indus. Ce
25.Any household member h

violations. Margulis v. P&

Plaintiff's home phone has been officially registered
Calf database which is designed by Congress to
sented and unauthorized telemarketing sales calls.
uling, Massachusetts Supreme Court ruled ‘robo-calls
Target Corp., SJC-12448, June 25, 2018.

carried its burden under Rule 56(c), the non-moving
simply show that there is some metaphysical doubt as
efendant fails to prove the existence of genuine issues
ying party is entitled to judgment as a matter of law.
». v. Zenith Radio Corp. 475 U.S. 574, 586 (1986).

as standing to sue, not just account holder for TCPA

‘M Consulting, 121 S.W.3d 246 (Mo. App. 2003).

26.Plaintiff need not prove any monetary loss or actual damages to recover the

statutory penalty. Lary v.

Civ. App. 2005); Kaplan v

America Med. Practice Servs., 909 So. 2d 204 (Ala.

. Democrat & Chron., supra.

5

 
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27.The courts have awarded treble damages if a defendant's violations were

“willful or knowing", 47 U!S.C. 227(b)(3). Treble damages does not require any

malicious or unjustifiable conduct but satisfied by ‘knowing’ conduct.

28.This court shall take judicial notice, Fed. R. Evid. Rule 201(c)(2) of a finding of

‘willfulness’ does not require bad faith. Citing to Texas v. Am. Blastfax, Inc.

case the court held that it

does require that the caller “have reason to know, or

should have known, that his conduct would violate the statute.” 164 F. Supp. 2d

892, 899-901 (W.D. Tex, 2001). The Court sustained the “well-established”

rule that “at a minimum! a principal is liable for willful acts of his agent

committed within the scop

29.Plaintiff has the burden

e of an agent’s actual authority.”

to establish for treble damages and must prove

defendant knew that it acted or failed to act in a certain manner, not that the

conduct itself constituted

a violation of law. As contained on their website

http://firstclassvacations.com/privacy-policy/ in ‘Privacy Policy’(PP) section:

Information Collection, Use, and Sharing: We only have access to/collect

 

information that you voluntarily give us via email or other direct contact from you.
We will use your information to respond to you, regarding the reason you

contacted us. Unless you as

us not to we may contact you via email, phone or

mail in the future. (emphasis added).

30.Plaintiffs never consented

to be contacted. ‘PP’ states, “unless you ask us not

to...” The TCPA states it|is unlawful for any person to make any unconsented

calls, 47 U.S.C. 227(b)(1)(A) unless certain conditions are met, no.19, supra.

 

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31.The court found in the c

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ontext of the TCPA, 47 U.S.C.227(b)(3), the term

"willfully" means "defendant acted voluntarily under its own free will, despite

of whether defendant knew that it was acting in violation of the statute”.

32.Under the Communication:

s Act of 1943, as a part of the TCPA defines “willful”

as "conscious or deliberate commission or omission of such act, irrespective of

|
any intent to violate any provision, rule or regulation." See: “repeated”

33.Defendant knew its premeditated telemarketing acts were a violation of the

TCPA, supra, as ‘willful t
long-established legal prix
137 Congressional Record
“calls are the scourge of mod

interrupt our dinner at night;
us until we want to rip the tele

slindness’ since their actions would conflict with the
ciple that “ignorance of the law is no excuse”.' In
30, 821-30, 822 (1991), Senator Hollings stated.

ern civilization, They wake us up in the morning; they

they force the sick and elderly out of bed; they hound
phone right out of the wall.”

34.Plaintiffs attempted to amicably resolve this matter “in good faith’ prior to

filing a civil action as not 1

that is already overburden

to additionally burden the parties or the federal courts

ed but without success based on their willful silence.

Defendant were given three (3) opportunities to rebut Plaintiff's allegations of

TCPA violations but rathe

35.Plaintiff provided three G

r remained silence and failed to respond, in honor.

3) separate notices to their mailing address, 1515 S.

Federal Hwy #301, Boca Raton, FL 33432 for a rebuttal but never replied.

 

' See: Amer. Home Servs., In
(Ga. App. 2013); Krakauer v.

c. v. A Fast Sign Co., Inc., 747 S.E.2d 205, 208-209
Dish Network LLC, 14-333 (M.D. N.C. 2017).
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36.0n May 10, 2016, Plainti

certified mail, receipt no.

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ff sent a “Demand & Notice to Respond”, by U.S.

70140150000069712117 delivered to Defendant’s

agent on May 17, 2016. Exhibit “3”. On June 30, 2015, a “Final Notice with

three (3) days to cure”, s

ent by U.S. certified mail 70140150000069712148,

delivered July 5, 2016. Exhibit “4”. On June 8, 2018, a “Final Notice pending

 

legal action” by U.S. posta

37.A ‘notice of legal responsi

bility is “the first essential of due process of law

1 mail service. Exhibit “5”. No response received.

9992

Furthermore, a court proceeding is not a requirement of due process yet it

satisfies the due process cl
38.It is well known by the co

in civil matters’ (‘Adrissi

ause’, e.g. IRS ‘notice of tax lien’.
urts that ‘silence is considered an admission of guilt

ons by silence’, 32 AmJur 2d 253) and that ‘silence

gives consent in business life’. Maxim: “He who does not deny, admits”.

39.Summary judgment is appr

opriate “if the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a

matter of law.” Fed.R.Civ.P. 56(a). See: E.E.0.C. v. LHC Group., Inc., 773

F.3d 688, 694 (" Cir.2014
law, “Did Defendant thro

U.S.C. 227? Unequivocall

 

). This matter is based upon one essential question of
ugh its agents, violate federal law of sections of 47

y, they most certainly did.

* Connally v. General Construction Co., 269 U.S. 385, 391 (1926)

> Ballard v. Hunter, 204 U.S.
668 (1890)

 

241, 255 (1907); Palmer v. McMahon, 133 U.S. 660,
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COUNT I - TELEPHONE CONSUMER PROTECTION ACT (47 U.S.C. 227)

40.Plaintiff alleges and incorporates the information in paragraphs 1 through 39.

 

41.The TCPA makes it _— for any ‘person’ within the United States . . . fo

make any call using any automatic telephone dialing system or an artificial or
prerecorded voice pursuant to 47 U.S.C. 227(b)(1)(A)(B).

42.Defendant(s) demonstrated “willful’ and “deliberate” acts of non-compliance
under 47 U.S.C. 227(b)(1|)(A) and (b)(3)(C)by using an automatic telephone
dialing system to call Plaintiff's landline on sixteen (16) separate occasions
within one year. Telemarketing calls is one of the most invasive practices
defined as an obnoxious and unwanted intrusion inta the privacy of a
consumer’s home.

43.Plaintiffs are entitled to damages of $500 for the first call and between $500 to
$1500 each call thereafter (15) per each TCPA violation under 47 U.S.C.

227(b)(3), subject to the court’s discretion, as an actionable ground under 47

U.S.C 227(c)(5) as a claim in which relief can be granted in Plaintiffs’ favor.

COUNT TWO - Intrusion upon Seclusion
44 Plaintiffs allege Defendants telemarketing calls were a nuisance and invasion of
their privacy of very harm that TCPA was created to prevent which had

satisfied the concreteness component of Article III’s standing.

9

 
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45.The elements have been met for this cause of action by Defendant’s invasion of
privacy as ‘intrusion on seclusion’: A) Defendant intentionally intruded on
Plaintiffs’ solitude, seclusion or private affairs; and B) the intrusion would be
highly offensive to a reasonable person. Especially since Plaintiffs were already
over-taxed for caring for |Betty’s mother (94 yrs old) suffering from stage-4

dementia requiring 24 houts per day, 7 days a week of supervision and care.

COUNT THREE ~ NEGLIGENCE

46.Defendant owed Plaintiffs a legal duty to exercise at least reasonable care in
‘scrubbing’ their telemarketing lists against the National “Do-Not-Call”
database list before one telemarketing call was made to Plaintiffs’ home phone
thus intruding upon Plaintiffs’ privacy.

47.Defendant breached their duty of care against public policy and against
Plaintiffs right to privacy which they had placed their home phone number on
the National ‘Do-Not-Call? list since February 17, 2012.

48.Plaintiff was damaged as a direct result of Defendant’s breach.

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WHEREFORE, Plaintiff moves this honorable Court to grant the following relief:

The Defendant(s) has demonstrated repeated ‘willful’ and ‘deliberate’ acts in direct

violation of 47 U.S.C. 227(b)( i) and all calls actionable under 47 U.S.C. 227(c)(5).

pow,

. Adjudging that Defendant(s) violated sections of the TCPA, 47 U.S.C. 227;

2. Award Plaintiff statutory damages pursuant to 47 U.S.C. 227(c)(5) as an

actionable ground as a claim in which relief can be granted, of $500 for the first

call and requests treble damages of $1500 for each call thereafter (15) made as

clearly shown to be “willful”, “repeated” and “deliberate” acts as established;

3. Award Plaintiff any fees and costs incurred in this civil action;

4. Award Plaintiff any post-judgment interest as allowed under the law;

5. Award Injunctive relief prohibiting Defendant(s) such acts in the future;

6. Award of all attorneys’ fees and costs for Plaintiff, if any;

7. Such other monetary award|as the Court deems just and proper

(a) By protecting the public

from such unethical conduct;

(b) Sufficient to punish the violations;

(c) Severe enough to deter others prone to commit similar violations;

8. Award such other and further relief as the Court may deem just and proper;

9. Demand for Jury Trial for all counts so treble as a matter of law;

|

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Gad r=

RICHARD STALONS, Plaintiff,
All rights reserved without recourse or prejudice.

Gp les

ALONS, Plaintiff, —

ts ea without recourse or prejudice.
Loon

KE: DELI EON, Plaintiff
All rights Pere without recourse or prejudice.

 

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of this complaint and attached exhibits was
furnished to the U.S. District Court for the Southern District of Texas, 515 Rusk
Ave., Houston, TX, 77002 and Defendant, First Class Vacations, Inc. / Cruise
Firefly, et al, (same company) at 1515 S. Federal Hwy #301, Boca Raton, FL 33432
by U.S. Postal Mail on this 9 day of July 2018.

(MAI

RICHARD STALONS, Plaintiff,

LO Le2lrs
BETTY ee ey

ARE DILLON Plaintiff

: 12

 
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JS 44 (Rev, 12/12)

The JS 44 civil cover sheet and the information contained herein nej

provided by local rules of court. This form, approved by the Judicial Conference of th

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON

CIVIL COVER SHEET

ther replace nor supplement the filing and service of pleadings or other papers as required by law, except as

e United States in September 1974, is required for the use of the Clerk of Court for the

NEXT PAGE OF THIS FORM)

 

I. (a) PLAINTIFFS
RICHARD AND BETTY STALONS, DARREN DELEON

(b) County of Residence of First Listed Plaintiff Harris
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)
pro se, 6419 saffron hills drive, spring texas 77379 (28

)251-6675

DEFENDANTS

Attorneys (If Known)

 

County of Residence of First Listed Defendant

First Class Vacations, inc. / Cruise Firefly, et al,
1515 S. Federal Hwy #301, Boca Raton, FL 33432

Palm Beach (Fla)

(IN U.S. PLAINTIFF CASES ONLY)

NOTE: INLAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

 

If. BASIS OF JURISDICTION (Place an “X” in One Box Onl

o1 3° Federal Question

(U.S. Government Nat a Party,

U.S. Government
Plaintiff

02 US. Government
Defendant

O 4 Diversity

(Indicate Citizenship of Parties in Item H])

 

Il, CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
PYF DEF PIF DEF
Citizen of This State wi GO 1 Incorporated or Principal Place o4 04
of Business In This State
Citizen of Another State O 2 © 2 Incorporated and Principal Place o5 @s5
of Business In Another State
Citizen or Subject of a O3 © 3. Foreign Nation g6 06

Foreign Country

 

IV. NATURE OF SUIT (Place an “x” in One Box Only)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

[ CONTRACT : TORTS FORFEITURW/PENALTY BANKRUPTCY OTHER STATUTES __]
G 110 Insurance PERSONAL INJURY PERSONAL INJURY [0 625 Drug Related Seizure O 422 Appeal 28 USC 158 0 375 False Claims Act
GO 120 Marine © 310 Airplane 0 365 Personal Injury - of Property 21 USC 881 [0 423 Withdrawal OF 400 State Reapportionment
D130 Miller Act G 315 Airplane Product Product Liability O 690 Other 28 USC 157 O 410 Antitrust
3 140 Negotiable Instrument Liability O 367 Health Care/ 1) 430 Banks and Banking
0 150 Recovery of Overpayment } 0 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 0} 450 Commerce
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 1 460 Deportation
O 151 Medicare Act © 330 Federal Employers’ Product Liability CO 830 Patent 1 470 Racketeer Influenced and
C7 152 Recovery of Defaulted Liability ©) 368 Asbestos Personal CO 840 Trademark Corrupt Organizations
Student Loans 0 340 Marine Injury Product © 480 Consumer Credit
(Excludes Veterans) O 345 Marine Product Liability LABOR L URITY | C} 490 Cable/Sat TV
0 153 Recovery of Overpayment Liability PERSONAL PROPERTY | 0 710 Fair Labor Standards OG 861 HIA (1395ff) 0 850 Securities/Commodities/
of Veteran’s Benefits G 350 Motor Vehicle 0 370 Otter Fraud Act O 862 Black Lung (923) Exchange
0 160 Stockholders’ Suits 0 355 Motor Vehicle O 371 Truth in Lending 0 720 Labor/Management 0 863 DIWC/DIWW (405(g)) | C1 890 Other Statutory Actions
OF 190 Other Contract Product Liability 0 380 Other Personal Relations O 864 SSID Title XVI © 891 Agricultural Acts
¥ 195 Contract Product Liability {1 360 Other Personal Property Damage © 740 Railway Labor Act 0 865 RSI (405(g)) O 893 Environmental Matters
7 196 Franchise Injury 0 385 Property Damage (1 751 Family and Medical O 895 Freedom of Information
07 362 Personal Injury « Product Liability Leave Act Act
Medical Malpractice © 790 Other Labor Litigation OF 896 Arbitration
l REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS {C791 Employee Retirement FEDERAL TAX SUITS CG 899 Administrative Procedure
O 210 Land Condemnation Bi 440 Other Civil Rights Habeas Corpus: Income Security Act OD 870 Taxes (US. Plaintiff Act/Review or Appeal of
© 220 Foreclosure 0 441 Voting O 463 Alien Detainee or Defendant) Agency Decision
CF 230 Rent Lease & Ejectment © 442 Employment CG 510 Motions to Vacate G1 871 IRS—Third Party 0 950 Constitutionality of
© 240 Torts to Land . G 443 Housing/ Sentence 26 USC 7609 State Statutes
0 245 Tort Product Liability Accommodations 0 530 General
© 290 All Other Real Property C445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION
Employment Other: GO 462 Naturalization Application
0 446 Amer. w/Disabilities -] 0 540 Mandamus & Other | 465 Other Immigration
Other 0 550 Civil Rights Actions
0 448 Education (1) 555 Prison Condition
GO 560 Civil Detainee -
Conditions of
Confinement
V. ORIGIN (Place an “X” in One Bax Only)
1 Original O12 Removed from O 3 Remanded from O 4 Reinstated or © 5 Transferredfrom 0 6 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation
(specify

 

47 USC 227

Cite the U.S. Civil Statute under which you are filing (Do aot cite jurisdictional statutes untess diversity):

 

VI. CAUSE OF ACTION

Brief description of cause:
violations (16) of the feder:

 

| Telephone Consumer Protection Act ~ actionable grounds in 47 U.S.C. 227(c)(5)

 

 

 

 

 

VII. REQUESTED IN CHECK IF THIS.IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R:Cv.P 8,000.00 JURY DEMAND: Xi Yes (No
VU. RELATEDCASE(S)
IF ANY (See instructions): JUDGE __, DOCKET NUMBER
DATE a SIGNA’ URE OF ‘ORNEY Pew
07/09/2018 ze gO ,_ O- Dot
FOR OFFICE USE ONLY a 7 f
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
